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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

CITIZENS FOR CLEAN ENERGY, et al.,
                                                  4:17-cv-00030-BMM
                 Plaintiffs,

     and                                                ORDER

THE NORTHERN CHEYENNE TRIBE,

                 Plaintiff,

     vs.

U.S. DEPARTMENT OF THE INTERIOR,
et al.,

                Defendants,

     and

STATE OF WYOMING, et al.,

                Defendant-Intervenors.



STATE OF CALIFORNIA, et als.,
                                                  4:17-cv-00042-BMM
                 Plaintiffs,                       (consolidated case)

     vs.
                                                        ORDER
U.S. DEPARTMENT OF THE INTERIOR,
et al.,
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                      Defendants,

       and

STATE OF WYOMING, et al.,

                      Defendant-Intervenors.



      The Court previously granted a six-month stay in this matter on July 13, 2021.

(Doc. 214.) The parties shall continue to abide by the summary judgment deadlines

and briefing word limits provided by the that order. The following deadlines are

provided for Defendant-Intervenor National Mining Association’s Motion to

Dismiss (Doc. 210):

      • January 20, 2022: Defendant-Intervenors State of Montana and State of

         Wyoming’s consolidated brief in support of Defendant-Intervenor

         National Mining Association’s Motion to Dismiss.

      • January 20, 2022: Federal Defendants’ brief in support of Defendant-

         Intervenor National Mining Association’s Motion to Dismiss.

      • February 3, 2022: Plaintiffs Citizens for Clean Energy, EcoCheyenne,

         Montana Environmental Information Center, Center for Biological

         Diversity, Defenders of Wildlife, Sierra Club, Wildearth Guardians’




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   consolidated Response Brief to Defendant-Intervenor National Mining

   Association’s Motion to Dismiss

• February 3, 2022: Plaintiff Northern Cheyenne Tribe’s Response Brief to

   Defendant-Intervenor National Mining Association’s Motion to Dismiss

• February 3, 2022: Plaintiffs State of California, State of New Mexico,

   State of New York, and State of Washington’s consolidated Response

   Brief to Defendant-Intervenor National Mining Association’s Motion to

   Dismiss

• February 17, 2022: Defendant-Intervenor National Mining Association’s

   Reply Brief

Dated this 5th day of January, 2022.




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